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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                        Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                           Defendant


                      NOTICE OF DISCOVERY CORRESPONDENCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files with the Court its most recent discovery correspondence in

this case.


                                                    Respectfully submitted,

                                                    MICHAEL R. SHERWIN
                                                    United States Attorney
                                                    NY Bar No. 4444188

                                                    By: /s/ Jocelyn Ballantine
                                                    Jocelyn Ballantine
                                                    Assistant United States Attorney
                                                    CA Bar No. 208267
                                                    555 4th Street NW
                                                    Washington, D.C. 20530

Dated: July 7, 2020
Enclosure
